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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
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      2020-10343
      Boy Scouts of America



      Case Type :                    bk
      Case Number :                  2020-10343
      Case Title :                   Boy Scouts of America

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